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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
            v.                      :     Case No. 21-cr-128 (RC)
                                    :
WILLIAM POPE, and                   :
MICHAEL POPE,                       :
                                    :
                  Defendants.       :
______________________________________________________________________________

             GOVERNMENT’S MOTION FOR EXTENSION OF TIME
  TO FILE ITS SUPPLEMENTAL MOTION REGARDING THE DECLARATION OF
    THE UNITED STATES CAPITOL POLICE AND THE PROTECTIVE ORDER
______________________________________________________________________________

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests an extension of time in which to file its

supplemental motion in support of the United States Capitol Police (“USCP”) Declaration of

Thomas A. Dibiase, ECF No 88. The government requests a one-week extension until March 24,

2023, to file its response. Undersigned counsel did not receive a finalized version of the USCP

Declaration until March 15, 2023, and misunderstood the Court’s order to mean that, while the

declaration was to be filed by March 17, 2023, the supplemental motion was to be filed one week

later (on March 24, 2023). Instead, the transcript and Order reflect that the defendant’s response

to the Declaration is to be filed by March 24, 2023. For these reasons, the government respectfully

requests one additional week leave to file its opposition/supplement, understanding that the

defendant may need additional time to respond to our filing. Given the need for accuracy and more

fulsome briefing on the issues raised by the defendant (and inquired by the Court), we apologize
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for the delay, but request a short enlargement of the applicable deadlines. The government will,

however, submit the USCP Declaration on or before March 17, 2023.

       Undersigned counsel has conferred with the defendant, pro se, regarding this motion, and

he opposes the request.



                                                           Respectfully submitted,

                                                           MATTHEW GRAVES
                                                           UNITED STATES ATTORNEY
                                                           DC Bar No.: 481052

                                                           /s/ Kelly E. Moran
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